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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 DAVID CODREA,
                      et al.


                    Plaintiffs,                    Case No. 1:18-cv-03086-DLF
                                                   The Hon. Judge Friedrich
        v.

 BUREAU OF ALCOHOL, TOBACCO
 FIREARMS, AND EXPLOSIVES,
                et al.

                    Defendants.



                               JOINT PROPOSED SCHEDULE

       Pursuant to this Court’s February 25, 2019 Minute Order instructing the parties to

propose a schedule for further proceedings, the parties hereby report as follows:

1) The appeal of this Court’s Memorandum Opinion and Order denying plaintiffs’

   motion for preliminary injunction, ECF Nos. 21 & 22, remains pending in the United

   States Court of Appeals for the District of Columbia Circuit as D.C. Circuit Case No.

   19-5044. Argument is currently scheduled for March 22, 2019.

2) Plaintiffs anticipate amending their complaint following final resolution of the

   pending appeal, and Defendants have agreed not to oppose the filing of the planned

   Second Amended Complaint.

3) Defendants anticipate that an administrative record will provide the foundation for

   further proceedings in this matter.

4) Based on these considerations, the parties propose the following schedule:
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-    Plaintiffs shall file their Second Amended Complaint no later than 30 days

     following final resolution of their appeal of the Court’s Memorandum Opinion

     and Order;

-    Defendants shall have 30 days from the filing of the Second Amended Complaint

     in which to answer, move, or otherwise respond to that pleading. Defendants’

     obligation to answer, move, or respond to the First Amended Complaint, ECF No.

     17, shall be stayed in the interim.

-    Pursuant to LCvR 7(n), Defendants shall file a certified list of the contents of the

     administrative record with the Court within 30 days following service of the

     answer to the complaint (or simultaneously with the filing of a dispositive

     motion), whichever occurs first. Defendants shall provide a copy of the

     administrative record to Plaintiffs within 5 days of the filing of the list of its

     contents.

-    Within 30 days of Plaintiffs’ receipt of the administrative record, the parties shall

     meet, confer, and file a joint status report with the Court setting forth their

     positions on further proceedings, including:

         o Whether the case may be decided on the basis of the administrative record;

         o Whether any dispute exists over the sufficiency of the administrative

             record;

         o A proposed schedule for resolution of any issues that need to be addressed

             prior to summary judgment briefing, and if no such issues exist, a

             proposed schedule for briefing cross-motions for summary judgment.




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Dated: March 18, 2019              Respectfully submitted,

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